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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            8:13-CR-244

vs.
                                                TENTATIVE FINDINGS
LUIS VALLEJO,

                 Defendant.

       The Court has received the revised presentence investigation report
(PSR) in this case. The defendant, Luis Vallejo, has objected to the PSR
(filing 222) and moved for a downward departure. Filings 223 and 224. The
Court has also considered a statement by Vallejo's counsel (filing 189) and a
letter from Vallejo. Filing 242. The Court will consider the last two filings
when weighing the § 3553(a) factors at sentencing, but neither requires any
further action from the Court at this time.

      IT IS ORDERED:

1.    The Court will consult and follow the Federal Sentencing Guidelines to
      the extent permitted and required by United States v. Booker, 543 U.S.
      220 (2005), and subsequent cases. In this regard, the Court gives notice
      that, unless otherwise ordered, it will:

      (a)   give the advisory Guidelines respectful consideration within the
            context of each individual case and will filter the Guidelines'
            advice through the 18 U.S.C. § 3553(a) factors, but will not afford
            the Guidelines any particular or "substantial" weight;

      (b)   resolve all factual disputes relevant to sentencing by the greater
            weight of the evidence and without the aid of a jury;

      (c)   impose upon the United States the burden of proof on all
            Guidelines enhancements;

      (d)   impose upon the defendant the burden of proof on all Guidelines
            mitigators;
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     (e)   depart from the advisory Guidelines, if appropriate, using pre-
           Booker departure theory; and

     (f)   in cases where a departure using pre-Booker departure theory is
           not warranted, deviate or vary from the Guidelines when there is
           a principled reason justifying a sentence different than that
           called for by application of the advisory Guidelines, again without
           affording the Guidelines any particular or "substantial" weight.

2.   Vallejo objects (filing 222) to the PSR's inclusion of a two-level
     enhancement for possession of a firearm in connection with a drug
     offense. U.S.S.G. § 2D1.1(b)(1); PSR ¶¶ 34, 39, 47 & p. 22. On the day
     Vallejo was arrested, the police had gone to an apartment in Omaha to
     conduct a "knock and talk." One of Vallejo's co-conspirators, Luis Meza-
     Galvez, answered the door and allowed the police inside, whereupon
     they observed a large amount of cash on a table and a notebook that
     they believed to be a drug ledger. Meza-Galvez admitted that there
     were drugs in the apartment, but refused to consent to a search.
     Around that time, Vallejo arrived at the apartment and was detained.
     PSR ¶ 21. The police thereafter obtained a search warrant and
     discovered approximately 2,300 grams of actual methamphetamine in
     an air vent, and 87 grams of actual methamphetamine (along with
     $680, a digital scale, and plastic baggies) in a bedroom safe, as well as
     the $4,772 they had previously observed on the table. PSR ¶¶ 20–21,
     34. In a bedroom of the apartment, they found a suitcase which
     contained $4,900 in cash and a hotel registration card in Vallejo's
     name. Finally, in the kitchen, the police discovered another digital
     scale, and inside a cupboard, a loaded handgun, along with 44 rounds of
     ammunition. PSR ¶ 34 & p. 22.

     For § 2D1.1(b)(1) to apply, the government must prove by a
     preponderance of the evidence that (1) the weapon was possessed; and
     (2) it was not clearly improbable that the weapon was connected to the
     drug offense. United States v. Garcia, 703 F.3d 471, 476 (8th Cir. 2013).
     Actual or constructive possession will suffice. United States v. Dunn,
     723 F.3d 919, 929 (8th Cir. 2013). So, the government must show that
     Vallejo exercised ownership, dominion, or control over either the
     firearm or the premises in which it was found. Id. "If possession is
     established, the enhancement applies 'if the weapon was present,
     unless it is clearly improbable that the weapon was connected with the


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       offense.'" Id. (quoting U.S.S.G. § 2D1.1(b)(1), cmt. n.11.A). The
       government proves a connection between the firearm and the offense by
       showing the existence of a temporal and spatial relation between the
       weapon, the drug trafficking activity, and the defendant. United States
       v. Young, 689 F.3d 941, 946 (8th Cir. 2012). Although the mere
       presence of a firearm is not enough, the government need not show that
       the defendant used or even touched the firearm. Garcia, 703 F.3d at
       476.

       There is no dispute that the government has demonstrated a
       connection between the firearm and the present drug conspiracy. The
       firearm was found in the same apartment where large amounts of cash
       and methamphetamine were being stashed. See, e.g., id. at 477. And
       the firearm, which was loaded, was stored in a readily accessible
       location such that it could be used to protect that stash. See Young, 689
       F.3d at 946. However, the government has, thus far, not established
       that Vallejo possessed the firearm. First, there is no evidence that
       Vallejo actually possessed the firearm, nor that he exerted dominion or
       control over it. The firearm was found in a kitchen cupboard, separate
       from Vallejo's few personal belongings, which were found in a bedroom.
       Compare, e.g., United States v. Payne, 81 F.3d 759 (8th Cir. 1996). Nor
       is there any evidence that Vallejo knew the weapon was there. And as
       the Court explains below, Vallejo was not the sole occupant of the
       apartment.

       The government has also, thus far, failed to establish constructive
       possession. Constructive possession of a firearm is shown when a
       person has dominion over the premises where the firearm is located, or
       control, ownership, or dominion over the firearm itself. United States v.
       Chantharath, 705 F.3d 295, 304 (8th Cir. 2013). While there is no
       evidence that Vallejo owned, controlled, or exercised dominion over the
       firearm itself, there is evidence that might support a finding that
       Vallejo had dominion or control over the apartment. Another alleged co-
       conspirator,1 Jorge Munoz-Ramon, told police that he had rented the
       apartment at the request of Meza-Galvez, and that the apartment was
       intended for Vallejo's use. PSR ¶ 30. And Vallejo admitted that he had
       been staying at the apartment for approximately 8 to 10 days. PSR


1 Munoz-Ramon has not yet proceeded to trial or pleaded guilty. That said, at Vallejo's trial

the Court found (for purposes of Fed. R. Evid. 801(d)(2)(E)) that Munoz-Ramon was a
member of the conspiracy.


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     ¶ 33. Additionally, Vallejo was trusted to stay alone in the apartment
     with large amounts of methamphetamine and cash. Munoz-Ramon
     stated that shortly before the search of the apartment, he had stopped
     by to deliver $5,000 to Meza-Galvez. Meza-Galvez was not at the
     apartment, but Vallejo was, and so Munoz-Ramon had left the money
     with him. PSR ¶ 30.

     But showing that Vallejo had some control over the apartment will not
     suffice to show constructive possession of the firearm, because Vallejo
     was neither the sole occupant of the apartment, nor the only person
     who had dominion or control over it. Meza-Galvez claimed that he had
     been staying at the apartment for the past 2 months, watching over the
     methamphetamine for Munoz-Ramon. PSR ¶ 32. And while there is no
     evidence that Munoz-Ramon resided at the apartment, he rented it and
     the lease was held in his name. PSR ¶¶ 30, 34.

     Where there is joint occupancy of a residence, dominion over the
     premises by itself is insufficient to establish constructive possession.
     United States v. Wright, 739 F.3d 1160, 1168 (8th Cir. 2014). The
     firearm was in a kitchen cupboard—a location equally accessible to
     Vallejo and Meza-Galvez (and possibly Munoz-Ramon). This raises the
     inference that any one or all of the co-conspirators possessed the
     firearm. United States v. Wajda, 810 F.2d 754, 762 (8th Cir. 1987). In
     such cases, there must be some additional nexus linking the specific
     defendant to the firearm. Wright, 739 F.3d at 1168. On the current
     record, no such nexus has been established.

     And there is another, more fundamental, obstacle, thus far, in proving
     constructive possession of the firearm. Constructive possession
     generally requires knowledge of an object, the ability to control it, and
     the intent to do so. Chantharath, 705 F.3d at 304. As noted above, there
     is no evidence, at this point, that Vallejo knew of the firearm.

     Section 2D1.1(b)(1) may also apply based upon a co-conspirator's
     possession of a firearm. United States v. Brewer, 624 F.3d 900, 907–08
     (8th Cir. 2010). But the government must establish that it was
     reasonably foreseeable to the defendant that the co-conspirator would
     have possessed a weapon. Id. And this can only be demonstrated by
     proof that the defendant knew or should have known "based on specific
     past experiences" with the co-conspirator that the co-conspirator
     possessed a gun in connection with their common drug offense. United


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     States v. Lopez, 384 F.3d 937, 944 (8th Cir. 2004). The Court may not
     infer a defendant's knowledge based solely on the general association of
     firearms with the drug trade. Id. "To hold otherwise would unfairly
     penalize defendants for conduct over which they have no control." Id.
     At this point, the government has presented no evidence that any
     particular conspirator possessed or used the firearm, nor pointed to any
     facts suggesting that Vallejo should have foreseen such possession.
     Thus, the Court's tentative finding is that the government has not
     established actual or constructive possession of the firearm, and that
     Vallejo's objection has merit.

     Vallejo also moves for a departure under U.S.S.G. § 5K2.20, for
     "aberrant behavior" deviating from an otherwise law-abiding life.
     Filings 223 and 224. But Vallejo's request for departure runs into an
     immediate obstacle. A departure under § 5K2.20 is not available when
     the offense of conviction is a "serious drug trafficking offense," §
     5K2.20(c)(3), which the notes to the guideline define as any controlled
     substances offense under title 21 (other than simple possession) which
     carries a mandatory minimum term of imprisonment of 5 years or
     more. § 5K2.20 cmt. n.1. Vallejo is facing a minimum of 10 years on
     both counts. Thus, the Court tentatively finds that Vallejo's motion for
     departure must be denied. That said, the Court will consider the gist of
     Vallejo's argument when weighing the § 3553(a) factors. And the Court
     will resolve that matter at sentencing.

     Per the Court's previous Order on Sentencing Schedule, if either party
     intends to adduce evidence at the sentencing hearing in support of an
     objection to these tentative findings, that party shall make a written
     objection which includes a statement describing what evidence will be
     presented and how long such a hearing would take. Filing 185 at ¶ 8.

3.   Except to the extent, if any, that the Court has sustained an objection,
     granted a motion, or reserved an issue for later resolution in the
     preceding paragraph, the parties are notified that the Court's tentative
     findings are that the presentence report is correct in all respects.

4.   If any party wishes to challenge these tentative findings, that party
     shall, as soon as possible (but in any event no later than three (3)
     business days before sentencing) file with the Court and serve upon
     opposing counsel an objection challenging these tentative findings,
     supported by a brief as to the law and such evidentiary materials as are


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     required, giving due regard to the local rules of practice governing the
     submission of evidentiary materials. If an evidentiary hearing is
     requested, such filings should include a statement describing why a
     hearing is necessary and how long such a hearing would take.

5.   Absent timely submission of the information required by the preceding
     paragraph, the Court's tentative findings may become final and the
     presentence report may be relied upon by the Court without more.

6.   Unless otherwise ordered, any objection challenging these tentative
     findings shall be resolved at sentencing.

     Dated this 24th day of April, 2014.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




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